    Case 1:23-cv-00450-NT Document 17 Filed 01/05/24 Page 1 of 6                    PageID #: 104




                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE


    CENTRAL MAINE POWER COMPANY,

                                Plaintiff,

    v.
                                                              Case No. 23-cv-00450-NT
    MAINE COMMISSION ON
    GOVERNMENTAL ETHICS AND
    ELECTION PRACTICES, et al.,

                                Defendants.


         JOINT MOTION CONCERNING PAGE LIMITS AND TO CONSOLIDATE

         Plaintiff Central Maine Power Company (“CMP”) and each Defendant (together, the “State

Defendants”) jointly move the Court (a) concerning the page limits to govern the on-going briefing

over CMP’s Motion for Temporary Restraining Order and Preliminary Injunction (the “Motion”)

and the similar motions in the related challenges to the Initiative (the “Related Cases”),1 and (b) to

consolidate this matter with the Related Cases pursuant to Federal Rule of Civil Procedure 42.

         In support of this Motion, CMP and the State Defendants show as follows:

         1.     In their previous motion concerning scheduling (ECF No. 11), which the Court

granted (ECF No. 13), the State Defendants represented that the parties would confer concerning

page limits to govern the State Defendants’ memorandum in opposition to the Motion and each

similar such motion in the Related Cases, and the page limits to govern the reply memoranda of

CMP and that of each plaintiff in the Related Cases. Per the foregoing motion and order



1
 The Related Cases are (1) Versant Power et al. v. Schneider et al., Docket No. 1:23-cv-00451-
NT, (2) Maine Press Association et al. v. Maine Commission on Governmental Ethics and
Election Practices et al., Docket No. 1:23-cv-452-NT, and (3) Pringle et al. v. Frey et al.,
Docket No. 1:23-cv-00453-NT.

                                                  1
#16752029v3
 Case 1:23-cv-00450-NT Document 17 Filed 01/05/24 Page 2 of 6                        PageID #: 105




concerning scheduling, the current opposition and reply deadlines are January 12, 2024, and

January 31, 2024, respectively.

        2.     CMP, the State Defendants, and each plaintiff in the Related Cases have conferred

and agree that the State Defendants should be permitted to file a single opposition memorandum,

not to exceed 75 pages, responding in combined fashion to the Motion and each similar such

motion in the Related Cases.

        3.     CMP, the State Defendants, and each plaintiff in the Related Cases have conferred

and agree that it would be appropriate to defer the issue of the length of the plaintiffs’ respective

reply memoranda until after the State Defendants have filed their opposition memorandum on

January 12th. Receipt of the opposition memorandum will allow the plaintiffs an opportunity to

better calibrate their page limit proposal. Additionally, as the Court is aware through separate

filings, there exists a dispute over the extent to which Protect Maine Elections should be permitted

to participate in this litigation and the length of that group’s proposed brief, the resolution of which

also may impact plaintiffs’ page limits proposal. Accordingly, CMP, the State Defendants, and

each plaintiff in the Related Cases propose the Court grant the parties until January 19, 2024, to

confer concerning page limits for the reply and submit their proposal, or competing proposals, to

the Court.

        4.     Additionally, CMP and the State Defendants, with the consent of all plaintiffs in

each of the Related Cases, hereby move to consolidate this action with the Related Cases.

        5.     Federal Rule of Civil Procedure 42 authorizes the consolidation of actions under

certain circumstances. “Consolidation is best understood ‘not as completely merging the

constituent cases into one, but instead as enabling more efficient case management while

preserving the distinct identities of the cases and the rights of the separate parties in them.’” Sea



                                                   2
#16752029v3
 Case 1:23-cv-00450-NT Document 17 Filed 01/05/24 Page 3 of 6                   PageID #: 106




Salt, LLC v. Bellerose, Nos. 2:18-cv-00413-JAW, 2:20-cv-00099-JAW, 2021 WL 1431064, at *4

(D. Me. Apr. 15, 2021) (quoting Hall v. Hall, 138 S. Ct. 1118, 1125 (2018)).

        6.     This Court may consolidate multiple actions if the actions share a “common party”

and “common issues of fact or law.” Seguro de Servicio de Salud de P.R. v. McAuto Sys. Grp.,

Inc., 878 F.2d 5, 9 (1st Cir. 1989); Fed. R. Civ. P. 42. Once this determination is made, a trial

court “should consider both equity and judicial economy. If savings of expense and gains of

efficiency can be accomplished without sacrifice of justice, a court may find the actions merit

consolidation . . . . .” J.J.R. Distrib. Corp. v. Sandler Bros., No. 09-cv-210-P-S, 2009 WL

2382778, at *1 (D. Me. July 29, 2009) (quoting Hanson v. Dist. of Columbia, 257 F.D.R. 19, 21

(D.D.C. 2009)); Sea Salt, LLC, 2021 WL 1431064, at *4. A motion for consolidation will usually

be granted unless there is “demonstrable prejudice.” McAuto Sys. Grp., Inc., 878 F.2d at 8.

        7.     The four actions—all of which name the Maine Commission on Governmental

Ethics and Election Practices, the Commission’s members, and the Attorney General as

defendants, and all of which challenge the constitutionality of the Initiative—involve a common

party and common issues of law.

        8.     Moreover, equity and the judicial economy will be served by consolidation of these

actions. All four actions challenging the constitutionality of the Initiative were filed in early

December 2023. The Court held a conference of counsel shortly thereafter where all involved

participated, and the current briefing schedule for the pending motions for preliminary injunctive

relief have the same deadlines. Consolidating these actions under Rule 42 would formalize how

the parties and the Court have been treating these actions since their inception, and would serve

judicial economy by eliminating extraneous or redundant filings.




                                                3
#16752029v3
 Case 1:23-cv-00450-NT Document 17 Filed 01/05/24 Page 4 of 6                       PageID #: 107




         9.       No party would be prejudiced, and all parties to each action at issue consent to the

relief requested herein.

         For the foregoing reasons, CMP and the State Defendants respectfully requests that the

Court:

                 order the State Defendants to file a single memorandum in opposition to the

                  Motion, and each such similar motion in the Related Cases, not to exceed 75 pages

                  by January 12, 2024;

                 order CMP and the State Defendants to inform the Court by January 19, 2024, of

                  the parties’ position concerning the page length to govern any reply memorandum;

                  and

                 order that this action be consolidated with the Related Cases.




                                                   4
#16752029v3
 Case 1:23-cv-00450-NT Document 17 Filed 01/05/24 Page 5 of 6       PageID #: 108




Dated: January 5, 2024

                                   /s/ Joshua D. Dunlap
                                   Joshua D. Dunlap
                                   Nolan L. Reichl
                                   Katherine E. Cleary
                                   PIERCE ATWOOD LLP
                                   Merrill’s Wharf
                                   254 Commercial Street
                                   Portland, ME 04101
                                   Tel: (207) 791-1100
                                   Fax: (207) 791-1350
                                   jdunlap@pierceatwood.com
                                   nreichl@pierceatwood.com
                                   kcleary@pieceatwood.com

                                   Attorneys for Plaintiff
                                   Central Maine Power Company

                                   /s/ Jonathan R. Bolton
                                   JONATHAN R. BOLTON
                                   PAUL E. SUITTER
                                   Assistant Attorneys General
                                   Office of the Attorney General
                                   6 State House Station
                                   Augusta, ME 04333-0006
                                   Tel. (207) 626-8800
                                   jonathan.bolton@maine.gov
                                   paul.suitter@maine.gov

                                   Attorneys for State Defendants




                                      5
#16752029v3
 Case 1:23-cv-00450-NT Document 17 Filed 01/05/24 Page 6 of 6                     PageID #: 109




                                 CERTIFICATE OF SERVICE

        I hereby certify that on January 5, 2024, I electronically filed the foregoing document with

the Clerk of Court using the CM/ECF system which will distribute a copy of the document to all

counsel of record.

Dated: January 5, 2024

                                                  /s/ Joshua D. Dunlap
                                                  Joshua D. Dunlap
                                                  PIERCE ATWOOD LLP
                                                  Merrill’s Wharf
                                                  254 Commercial Street
                                                  Portland, ME 04101
                                                  Tel: (207) 791-1100
                                                  Fax: (207) 791-1350
                                                  jdunlap@pierceatwood.com

                                                  Attorney for Plaintiff
                                                  Central Maine Power Company




                                                 6
#16752029v3
